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         10
         11                            UNITED STATES DISTRICT COURT
         12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
         13                           WESTERN DIVISION – LOS ANGELES
         14
         15        PATAGONIA, INC. and                Case No. 2:19-cv-02702-VAP
                   PATAGONIA PROVISIONS, INC.,
         16                                           [PROPOSED] ORDER GRANTING
                                 Plaintiffs,
         17                                           STIPULATION TO EXTEND TIME
                        v.                            TO RESPOND TO FIRST
         18                                           AMENDED COMPLAINT
                   ANHEUSER-BUSCH, LLC dba
         19        PATAGONIA BREWING CO. ,
         20                      Defendant.
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  COOLEY LLP                                               PROP’D ORDER GRANTING STIP. TO EXT. TIME
ATTORNEYS AT LAW
                                                                  TO RESPOND TO 1ST AM’D COMPLAINT
  LOS ANGELES
                                                                      CASE NO. 2:19-CV-02702-VAP
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            1            Having reviewed the parties’ Stipulation to Extend Time to Respond to First
            2      Amended Complaint, the Court hereby GRANTS the relief requested by the Parties.
            3            IT IS HEREBY ORDERED:
            4            1)     Defendant’s deadline to respond to Plaintiffs’ First Amended Complaint is
            5      continued from June 19, 2019, to July 3, 2019.
            6            2)     If Defendant files a motion to dismiss, Plaintiffs’ opposition is due by July
            7      25, 2019, Defendant’s reply is due by August 9, 2019, and the hearing on such motion
            8      will be set for August 19, 2019.
            9            3)     If Defendant files a motion to dismiss, Defendant need not file an answer
         10        until fourteen (14) days after the Court’s ruling on such motion or after Plaintiffs’ filing
         11        of a second amended complaint, whichever occurs later.
         12
                   IT IS SO ORDERED.
         13
         14        Dated:
         15                                              Virginia A. Phillips
                                                         United States District Judge
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  COOLEY LLP                                                           PROP’D ORDER GRANTING STIP. TO EXT. TIME
ATTORNEYS AT LAW                                              1.              TO RESPOND TO 1ST AM’D COMPLAINT
  LOS ANGELES
                                                                                  CASE NO. 2:19-CV-02702-VAP
